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                                                               UNITED STATES BANKRUPTCY COURT
                                                                 WESTERN DISTRICT OF VIRGINIA
                                                                       ROANOKE DIVISION

                                  IN RE:

                                  MACTANZ, INC.,                                             Chapter 11
                                                                                             Case No. 18-71255
                                           Debtor(s).


                                                                      BALLOT SUMMARY

                                          Mactanz, Inc., Debtor herein, submits the following summary of ballots received toward its
                                  Plan of Reorganization:

                                  Class 2, Priority Unsecured Creditors:

                                                                                                            Opts out
                                                    From              Claim Amount            Vote           of the
                                                                                                            Releases
                                     1     Erin Beard                      $   3,086.00    ACCEPTS
                                     2     Charmonique Bell                $     521.00    ACCEPTS
                                     3     Isaac Belton                    $     429.00    ACCEPTS
                                     4     Ryan Brauch                     $   1,425.00    ACCEPTS
                                     5     Julianna Caldwell               $   1,040.00    ACCEPTS
                                     6     Amber Carr                      $     145.00    ACCEPTS
                                     7     Crystal Carter                  $   1,985.00    ACCEPTS
                                     8     Kara Carter                     $   1,170.00    ACCEPTS
                                     9     Angela Castellano               $   1,181.00    ACCEPTS
                                    10     Hannah Clark                    $   1,845.00    ACCEPTS
                                    11     Jared Cole                      $   3,138.00    ACCEPTS
                                    12     Angel Compton                   $   2,873.00    ACCEPTS
                                    13     Autumn Compton                  $   1,561.00    ACCEPTS
                                    14     Megan Cooke                     $   2,587.00    ACCEPTS
                                    15     Erin Cullen                     $     769.00    ACCEPTS
                                    16     Brett Demole                    $   2,993.00    ACCEPTS
                                    17     Ranishia Dent                   $   1,607.00    ACCEPTS
                                    18     Ryan Doroshenk                  $     792.00    ACCEPTS
                                    19     Emily Duhon                     $   1,122.00    ACCEPTS
                                    20     Vanessa Edwards                 $   1,591.00    ACCEPTS
                                    21     Krista Fink                     $     620.00    ACCEPTS
      P.O. Box 404                  22     Evan Fisher                     $      66.00    ACCEPTS
Roanoke, Virginia 24003-0404
      540.343.9800                  23     Robert Flowers                  $     990.00    ACCEPTS
ATTORNEYS AND COUNSELORS AT LAW     24     Sara Gower                      $     466.00    ACCEPTS

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                                                                                                    Opts out
                                                 From               Claim Amount          Vote       of the
                                                                                                    Releases
                                    25   Jonathan Hartman                $   1,449.00   ACCEPTS
                                    26   Ashley Hill                     $   2,102.00   ACCEPTS
                                    27   Lauren Hudson                   $   1,504.00   ACCEPTS
                                    28   Txo Hughes                      $   1,257.00   ACCEPTS
                                    29   Beth Jones                      $     197.00   ACCEPTS
                                    30   Jerry Jones                     $   2,254.00   ACCEPTS
                                    31   Macey Jones                     $     521.00   ACCEPTS
                                    32   Josiah Joyce                    $   2,172.00   ACCEPTS
                                    33   Erika Kelliher                  $   2,466.00   ACCEPTS
                                    34   Jordan Kurtz                    $     156.00   ACCEPTS
                                    35   Natalie Lopez                   $   3,568.00   ACCEPTS
                                    36   Nicole MacGregor                $   1,383.00   ACCEPTS
                                    37   Mandi Newton                    $     589.00   ACCEPTS
                                    38   Robin Pickeral                  $   2,020.00   ACCEPTS
                                    39   Ashley Plaugher                 $   2,440.00   ACCEPTS
                                    40   Savannah Price                  $     145.00   ACCEPTS
                                    41   Bobby Reynolds                  $   2,168.00   ACCEPTS
                                    42   Lauren Rippee                   $   1,013.00   ACCEPTS
                                    43   Sara Roberts                    $   1,734.00   ACCEPTS
                                    44   Eric Shreve                     $     190.00   ACCEPTS
                                    45   Ivy Silag-Stearns               $     477.00   ACCEPTS
                                    46   Kailey Simmons                  $   1,942.00   ACCEPTS
                                    47   Morgan Smith                    $   1,042.00   ACCEPTS
                                    48   Jose Tapia                      $   4,708.00   ACCEPTS
                                    49   Quinn Vaughn                    $   1,542.00   ACCEPTS
                                    50   Vanja Vukovic                   $   1,290.00   ACCEPTS
                                    51   Heather Welch                   $   1,509.00   ACCEPTS
                                         Total Priority
                                         Unsecured Claims voting         $ 75,840.00
                                  Non-voting - 6 creditors with claims of $3,273.00

                                  Class 5, Non-Priority Unsecured Creditors:

                                                                                                    Opts out
                                                 From              Claim Amount          Vote        of the
                                                                                                    Releases
                                    1    Susan Allen                   $ 2,947.00       ACCEPTS
                                    2    Erin Beard                    $   259.00       ACCEPTS
                                    3    Charmonique Bell              $   521.00       ACCEPTS
      P.O. Box 404                  4    Isaac Belton                  $   694.00       ACCEPTS
Roanoke, Virginia 24003-0404
      540.343.9800                  5    Ellen Best                    $ 3,967.00       ACCEPTS
ATTORNEYS AND COUNSELORS AT LAW     6    Ryan Brauch                   $ 2,059.00       ACCEPTS

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                                                                                                  Opts out
                                               From            Claim Amount         Vote           of the
                                                                                                  Releases
                                   7   Emily Brun                  $ 5,257.00     ACCEPTS
                                   8   Sara Byrd                   $ 4,727.00     ACCEPTS
                                   9   Julianna Caldwell           $ 3,819.00     ACCEPTS
                                  10   Amber Carr                  $    110.00    ACCEPTS
                                  11   Timothy Carroll             $ 1,986.00     ACCEPTS
                                  12   Crystal Carter              $ 5,806.00     ACCEPTS
                                  13   Jeremy Carter               $ 3,303.00     ACCEPTS
                                  14   Kara Carter                 $ 3,892.00     ACCEPTS
                                  15   Noah Carter                 $ 1,021.00     ACCEPTS
                                  16   Angela Castellano           $ 1,048.00     ACCEPTS
                                  17   Hannah Clark                $ 8,470.00     ACCEPTS
                                  18   Jared Cole                  $ 11,321.00    ACCEPTS
                                  19   Angel Compton               $ 4,713.00     ACCEPTS
                                  20   Autumn Compton              $ 1,427.00     ACCEPTS
                                  21   Paige Crocker               $     35.00    ACCEPTS
                                  22   Erin Cullen                 $    942.00    ACCEPTS
                                  23   Brett Demole                $ 13,079.00    ACCEPTS
                                  24   Joey Dishaw                 $ 2,309.00     ACCEPTS
                                  25   Ryan Doroshank              $ 6,728.00     ACCEPTS
                                  26   Emily Duhon                 $ 1,378.00     ACCEPTS
                                  27   Vanessa Edwards             $ 2,322.00     ACCEPTS
                                  28   Will Fabrie                 $ 5,711.00     ACCEPTS
                                  29   Krista Fink                 $ 3,629.00     ACCEPTS
                                  30   Evan Fisher                 $    349.00    ACCEPTS
                                  31   Robert Flowers              $ 2,009.00     ACCEPTS
                                  32   Rachel Garrison             $ 4,455.00     ACCEPTS
                                  33   Jordan Geary                $ 1,784.00     ACCEPTS
                                  34   Ashley Gladden              $ 2,953.00     ACCEPTS
                                  35   Sara Groft                  $ 2,279.00     ACCEPTS
                                  36   James Hall                  $    260.00    ACCEPTS
                                  37   Lauren Harris               $ 2,345.00     ACCEPTS
                                  38   Jonathan Hartman            $ 4,936.00     ACCEPTS
                                  39   Ashley Hill                 $    934.00    ACCEPTS
                                  40   Joseph Holmes               $    119.00    ACCEPTS
                                  41   Edward Hrinya               $ 1,177.00     ACCEPTS
                                  42   Lauren Hudson               $ 4,534.00     ACCEPTS
                                  43   Brittany Hutchinson         $ 12,450.00    ACCEPTS
                                  44   Jerry Jones                 $ 7,182.00     ACCEPTS
                                  45   Joseph Joyce                $ 1,594.00     ACCEPTS
      P.O. Box 404                46   Josiah Joyce                $ 9,277.00     ACCEPTS
Roanoke, Virginia 24003-0404
      540.343.9800                47   Erika Kelliher              $ 4,654.00     ACCEPTS
ATTORNEYS AND COUNSELORS AT LAW   48   Jordan Kurtz                $ 5,018.00     ACCEPTS

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                                                                                                    Opts out
                                                  From              Claim Amount         Vote        of the
                                                                                                    Releases
                                    49   Lisa Lacy                      $ 7,034.00      ACCEPTS
                                    50   Annie Link                     $ 4,687.00      ACCEPTS
                                    51   Natalie Lopez                  $ 10,651.00     ACCEPTS
                                    52   Donald Lynch                   $ 4,320.00      ACCEPTS
                                    53   Nicole MacGregor               $ 3,750.00      ACCEPTS
                                    54   Miranda McGuire                $ 2,856.00      ACCEPTS
                                    55   Leah McMahon                   $ 2,964.00      ACCEPTS
                                    56   Matthew Moore                  $ 4,998.00      ACCEPTS
                                                                        $ 35,000.00
                                    57   Steven Nguyen                    (per POC)     REJECTS        X
                                    58   Sean O’Keefe                   $    428.00     ACCEPTS
                                    59   Robin Pickeral                 $ 12,189.00     ACCEPTS
                                    60   Ashley Plaugher                $ 10,135.00     ACCEPTS
                                    61   Savannah Price                 $ 2,487.00      ACCEPTS
                                    62   Madison Ribble                 $ 1,564.00      ACCEPTS
                                    63   Lauren Rippee                  $    970.00     ACCEPTS
                                    64   Sara Roberts                   $ 6,930.00      ACCEPTS
                                    65   Maggie Rotanz                  $ 3,151.00      ACCEPTS
                                    66   Delaney Russell                $    690.00     ACCEPTS
                                    67   Victoria Sage                  $ 1,744.00      ACCEPTS
                                    68   Guy Shelby                     $ 1,851.00      ACCEPTS
                                    69   Ivy Silag-Stearns              $ 4,603.00      ACCEPTS
                                    70   Kailey Simmons                 $ 1,684.00      ACCEPTS
                                    71   Allyson Slate                  $ 2,151.00      ACCEPTS
                                    72   Elizabeth Smith                $ 2,151.00      ACCEPTS
                                    73   Morgan Smith                   $ 3,519.00      ACCEPTS
                                    74   Taylor Swinson                 $    895.00     ACCEPTS
                                    75   Jose Tapia                     $ 21,289.00     ACCEPTS
                                    76   Brian Thompson                 $ 12,842.00     ACCEPTS
                                    77   Quinn Vaughn                   $ 1,542.00      ACCEPTS
                                    78   Vanja Vukovic                  $ 3,739.00      ACCEPTS
                                    79   Heather Welch                  $ 8,588.00      ACCEPTS
                                    80   William Welch                  $ 6,572.00      ACCEPTS
                                    81   Julia Wells                    $    850.00     ACCEPTS
                                         Total Non-Priority
                                         Unsecured Claims
                                         voting                     $360,613.00*
                                         *Total Class 5 accepting     $325,613.00

      P.O. Box 404
                                          Total Class 5 rejecting     $ 35,000.00
Roanoke, Virginia 24003-0404
      540.343.9800                Non-voting – 14 creditors with claims of $14,669.00
ATTORNEYS AND COUNSELORS AT LAW




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                                  Date: March 1, 2019               Respectfully submitted,
                                                                    MACTANZ, INC.
                                  By: /s/ Andrew S. Goldstein
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                                  Andrew S. Goldstein, Esq. (VSB #28421)
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                                  Roanoke, Virginia 24003-0404
                                  Telephone: (540) 343-9800
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                                  Electronic Mail: agoldstein@mglspc.com
                                  Counsel for the Debtor




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Roanoke, Virginia 24003-0404
      540.343.9800

ATTORNEYS AND COUNSELORS AT LAW




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